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                                  Case No. 23-5609

            UNITED STATES COURT OF APPEALS
                FOR THE SIXTH CIRCUIT

                                  JANE DOE 1, et al.
                                                    Plaintiffs-Appellees
                                          v.

                         WILLIAM C. THORNBURY, JR.,
                            in his official capacity, et al.

                                                  Defendants-Appellees

                                         and
                  COMMONWEALTH OF KENTUCKY ex rel.
                 ATTORNEY GENERAL DANIEL CAMERON
                                      Intervening Defendant-Appellant

                   On Appeal from the U.S. District Court for the
                   Western District of Kentucky, No. 3:23-cv-230


     COMMONWEALTH OF KENTUCKY’S RESPONSE TO
         MOTION FOR STAY PENDING APPEAL

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                                  INTRODUCTION

       The same district court that awarded the plaintiffs a preliminary injunction gave

them an opportunity to explain why L.W. ex rel. Williams v. Skrmetti, --- F.4th ---, 2023

WL 4410576 (6th Cir. July 8, 2023), does not require a stay of that injunction as to

Kentucky’s Senate Bill 150. After considering the plaintiffs’ attempts to distinguish

L.W., the district court could not discern any dispositive distinction between this case

and L.W. and accordingly stayed its own preliminary injunction pending appeal. Order,

R.79, PageID#2494–96.

       Having failed to convince a district judge that initially agreed with them, the

plaintiffs now come to this Court seeking emergency relief. In a clear tell about what

L.W. means for the merits of their claims, the plaintiffs begin their motion by arguing

about irreparable harm, despite the fact that the likelihood of success on the merits is

the factor that drives the result at this juncture. As L.W. put it, “the likelihood-of-suc-

cess inquiry is the first among equals.” 2023 WL 4410576, at *2. And on that crucial

point, the plaintiffs simply relitigate L.W.’s clear holdings. No doubt, L.W. qualified

that those holdings were “initial.” Id. at *8. But nothing in the plaintiffs’ motion comes

close to establishing a “clear showing” that they are entitled to a stay. See Winter v. Nat.

Res. Def. Council, 555 U.S. 7, 22 (2008). Plus, the plaintiffs relegate to a single paragraph

the issue on which the L.W. panel was unanimous—that the L.W. injunction was over-

broad. 2023 WL 4410576, at *3; id. at *10 (White, J., concurring in part and dissenting



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in part). The same is undeniably true here. And the single paragraph in which the plain-

tiffs discuss this issue does not even mention the most applicable precedent from this

Court.

         This Court has already done the hard work of wading through these issues on an

expedited timeline. The plaintiffs’ attempt to relitigate them on yet another expedited

timeline should fail. The Court has said it intends to rule on this case by September

30—just over two months from now. The plaintiffs cannot explain why they are entitled

to a stay in the short time until then.

                                    BACKGROUND

         SB 150 overwhelmingly passed Kentucky’s General Assembly over Governor

Andy Beshear’s veto. Like the law considered in L.W., SB 150 prohibits a health-care

provider from providing puberty blockers and hormones to a minor “for the purpose

of attempting to alter the appearance of, or to validate a minor’s perception of, the

minor’s sex, if that appearance or perception is inconsistent with the minor’s sex.” Ky.

Rev. Stat. § 311.372(2)(a)–(b). SB 150, however, allows some continuing treatments for

minors who were receiving the prohibited treatments before the law took effect. Under

this provision, a health-care provider “may institute a period during which the minor’s

use of the drug or hormone is systematically reduced.” Ky. Rev. Stat. § 311.372(6). This

provision does not set a hard end date for when such treatments must end.




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       SB 150 was slated to take effect on June 29. Ky. AG Op. 2023-03. On May 3,

seven children and their parents sued to challenge SB 150 and thereafter sought a pre-

liminary injunction. Compl., R.2, PageID#11–32; Mot. PI, R.17, PageID#115–39. At-

torney General Daniel Cameron promptly intervened on behalf of the Commonwealth

to defend SB 150. Mot. Intervene, R.16, PageID#80–86; Order, R.38, PageID#452–

54.

       The day before SB 150 was to take effect, the district court granted a statewide

preliminary injunction blocking enforcement of the challenged provisions. Mem. Op.,

R.61, PageID#2299–2313. The next day, the Commonwealth appealed and filed an

emergency motion to stay the preliminary injunction in district court. Notice of Appeal,

R.65, PageID#2415–16; Mot. Stay, R.66, PageID#2417–32. When the district court did

not promptly rule, the Commonwealth sought emergency relief in this Court. The next

day, this Court issued L.W.

       The Commonwealth immediately notified the district court of L.W. Notice,

R.73, PageID#2458–59. The district court gave the plaintiffs a chance to explain how

this case differs from L.W. Text Order, R.75. The plaintiffs tried to do so. Amended

Response, R.77, PageID#2482–84. But they ultimately failed to convince the district

court. On July 14, the district court stayed its preliminary injunction in full. In light of

L.W., the district court saw “no basis to deny the requested stay.” Order, R.79,

PageID#2495–96.

       Four days later, the plaintiffs made their current motion.
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                                      ARGUMENT

       All four considerations governing whether the Court should stay the district

court’s order strongly favor the Commonwealth: (i) whether the plaintiffs have made a

“strong showing” that they are likely to succeed on the merits; (ii) whether the plaintiffs

have established irreparable harm absent a stay; (iii) whether a stay will substantially

injure other parties; and (iv) the public interest. See Nken v. Holder, 556 U.S. 418, 426

(2009) (citation omitted).

I.     The Commonwealth will prevail on the merits.

       A.     The preliminary injunction is overbroad.

       The plaintiffs barely mention the part of L.W. on which the Court was unani-

mous: the overbroad scope of the injunction. L.W., 2023 WL 4410576, at *3; id. at *10

(White, J., concurring in part and dissenting in part). There can be no dispute that the

preliminary injunction the plaintiffs secured below is just like the overbroad one in L.W.

As the district court put it, “[a] facial injunction is . . . appropriate.” Mem. Op., R.61,

PageID#2312.

       The key case here is Commonwealth v. Biden, 57 F.4th 545 (6th Cir. 2023). The

Commonwealth knows something about that case—this Court narrowed a preliminary

injunction that Kentucky had won in district court that benefited non-parties. Id. at 557.

Yet despite the majority and separate opinion in L.W. relying on Biden, the plaintiffs’

emergency motion does not even mention it. The only case from this Court that the

plaintiffs cite is Washington v. Reno, 35 F.3d 1093 (6th Cir. 1994). But the injunction there
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reached non-parties because the injunction would have otherwise been “illusory in-

deed” for the plaintiffs there. Id. at 1104. The plaintiffs do not even try to explain why

a party-specific injunction here would make relief “illusory indeed” for them. More

specifically, they have provided no evidence that Kentucky health-care providers will

provide prohibited treatments to them only if they can provide such treatment to all

Kentucky children. In short, no matter what the Court thinks of the plaintiffs’ motion,

there is no serious argument that they should be granted a full stay.

       B.    The plaintiffs have not made a clear showing on the merits.

       The plaintiffs essentially give away the game by starting their motion with a dis-

cussion of irreparable harm. It is well-established that, when a constitutional violation

is alleged, the likelihood of success on the merits “often will be the determinative fac-

tor.” Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir. 2012) (citation omitted). Or

as L.W. put it, that factor is “the first among equals.” 2023 WL 4410576, at *2.

      To justify their downplaying of the merits, the plaintiffs counter that a strong

showing of irreparable harm can forgive a lackluster showing on the merits. The pub-

lished authority they cite for this proposition is Baker v. Adams County/Ohio Valley School

Board, 310 F.3d 927, 928 (6th Cir. 2002) (per curiam), which said that “[t]he strength of

the likelihood of success on the merits that needs to be demonstrated is inversely pro-

portional to the amount of irreparable harm that will be suffered if a stay does not

issue.” But Baker still requires “serious questions” on the merits. Id. And that decision

predates Winter. The Supreme Court’s language in Winter “seems clear—a plaintiff must
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establish the [preliminary-injunction] factors.” D.T. v. Sumner Cnty. Schs., 942 F.3d 324,

328 (6th Cir. 2019) (Nalbandian, J., concurring).

      In any event, in constitutional cases like this one, the likelihood of success on the

merits is often the determinative factor because the other preliminary-injunction factors

usually flow from it. So it is here. The plaintiffs’ theory of irreparable harm is based on

the fact that they will have to decrease and eventually stop prohibited treatments as a

result of SB 150. But Kentucky’s General Assembly made the judgment that the con-

tinuing-treatment provision in Ky. Rev. Stat. § 311.372(6) suffices to protect the plain-

tiffs from any resulting harm. This shows that the plaintiffs’ theory of irreparable harm

inevitably depends on whether SB 150 is constitutional—their theory presumes that the

Constitution prohibits enforcing SB 150. The Court’s L.W. opinion recognized this

very point: “In this instance, elected representatives made the precise cost-benefit de-

cisions and did not trigger any reasons for skeptical review in doing so.” L.W., 2023

WL 4410576, at *8; see also Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (6th Cir.

1998) (making the same point in the First Amendment context). For this reason, the

plaintiffs must make a “‘clear showing’ that they will succeed on the merits.” L.W., 2023

WL 4410576, at *8 (quoting Mazurek v. Armstrong, 520 U.S. 968, 972 (1997)). And as

L.W. explains, the plaintiffs cannot do so.




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       Substantive due process. The plaintiffs’ substantive-due-process arguments

simply repackage those that the Court rejected in L.W. Nothing the plaintiffs say un-

dermines L.W.’s bottom line that “[a]ll told, the plaintiffs’ efforts to expand our sub-

stantive due process precedents to this new area are unlikely to succeed.” Id. at *6.

       The plaintiffs first quibble with L.W.’s statement that “no Supreme Court case

extends [substantive-due-process protection] to a general right to receive new medical

or experimental drug treatments.” Id. at *8. Instead of identifying such a Supreme Court

case (or a Sixth Circuit one), the plaintiffs argue that the treatments prohibited by SB

150 are not new and experimental. The plaintiffs, however, cannot dispute that the

FDA “is not prepared to put its credibility and careful testing protocols behind the use”

of puberty blockers and hormones to treat gender dysphoria in minors. Id. at *5. The

plaintiffs counter that in general the off-label use of prescription drugs is widespread.

But as L.W. recognized, “the Constitution does not require [a State] to view these treat-

ments the same way as the majority of experts or to allow drugs for all uses simply

because the FDA has approved them for some.” Id. In sum, the plaintiffs’ argument

does not lay a glove on L.W.’s reasoning.

       The plaintiffs also object to L.W.’s reliance on the D.C. Circuit’s decision in Ab-

igail Alliance for Better Access to Developmental Drugs v. von Eschenbach, 495 F.3d 695 (D.C.

Cir. 2007) (en banc). It’s clear why the plaintiffs want to run from this decision. It con-

ducted a careful review of our country’s history and traditions, which is required in

substantive-due-process cases, and held that “[o]ur Nation’s history and traditions have
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consistently demonstrated that the democratic branches are better suited to decide the

proper balance between the uncertain risks and benefits of medical technology, and are

entitled to deference in doing so.” Id. at 713. The plaintiffs point out that in Eschenbach

the FDA had not approved the drugs in question. But their motion offers nothing from

our history and traditions to show why that difference matters. Without a historical

hook, their substantive-due-process claim is bound to fail. See Dobbs v. Jackson Women’s

Health Org., 142 S. Ct. 2228, 2246 (2022) (“[T]he Court has long asked whether the right

is deeply rooted in our history and tradition and whether it is essential to our Nation’s

scheme of ordered liberty.” (cleaned up)). In any event, our history and traditions are

against the plaintiffs. As L.W. pointed out, the States get to decide health-and-welfare

matters even when “medical and scientific uncertainty exists.” L.W., 2023 WL 4410576,

at *5 (quoting Gonzales v. Carhart, 550 U.S. 124, 163 (2007), and collecting cases).

       Equal protection. The plaintiffs all but admit that L.W. is squarely against them

on their equal-protection claim. So they offer that L.W. “did not adequately consider

the full weight of controlling authority supporting [the plaintiffs’] equal protection

claims.” But the first two cases that the plaintiffs cite are ones that L.W. expressly con-

sidered. As L.W. explained, “Bostock v. Clayton does not change the analysis,” and “Smith

v. City of Salem does not move the needle either.” 2023 WL 4410576, at *7. Consider

each case (again).

       Bostock is twice removed from this one. Bostock interpreted a federal statute, not

the Equal Protection Clause. And Bostock arose in the employment context, not the
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medical context. Bostock itself addressed the concern that “our decision will sweep be-

yond Title VII.” 140 S. Ct. 1731, 1753 (2020). It emphasized that “[t]he only question

before” the Court was the interpretation of Title VII. Id. Any other issues are “questions

for future cases.” Id. Bostock’s emphasis on this point cannot be missed. This Court has

already gotten the not-so subtle hint. Bostock, this Court has held, “was clear on the

narrow reach of its decision and how it was limited only to Title VII itself.” Pelcha v.

MW Bancorp, Inc., 988 F.3d 318, 324 (6th Cir. 2021). More to the point, “the rule in

Bostock extends no further than Title VII.” Id.; see also Meriwether v. Hartop, 992 F.3d 492,

510 n.4 (6th Cir. 2021) (reasoning that Title VII analysis does not apply to Title IX).

       Aside from Bostock’s assurances, there are good reasons not to extend its statu-

tory analysis to the Equal Protection Clause. The most obvious is that Title VII’s text

differs from that of the Equal Protection Clause. Compare 42 U.S.C. § 2000e-2(a) (“It

shall be an unlawful employment practice for an employer . . . to discharge any individ-

ual . . . because of such individual’s . . . sex . . . .”), with U.S. Const. amend. XIV, § 1

(“No state shall . . . deny to any person within its jurisdiction the equal protection of

the laws.”). In addition, “[t]he Fourteenth Amendment . . . predates Title VII by nearly

a century, so there is reason to be skeptical that its protections reach so far.” Brandt v.

Rutledge, No. 21-2875, 2022 WL 16957734, at *1 n.1 (8th Cir. Nov. 16, 2022) (Stras, J.,

dissenting from denial of rehearing en banc). And if Bostock was clear about one thing,

it was that Title VII’s particular text drove the result. 140 S. Ct. at 1749. In fact, Bostock’s

author recently made this point in an analogous context. Faced with an argument that
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a differently worded statute (Title VI) means the same thing as the Equal Protection

Clause, Justice Gorsuch dismissed the contention as “implausible on its face.” Students

for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 143 S. Ct. 2141, 2220 (2023)

(Gorsuch, J., concurring).

         Bostock’s reasoning also cannot apply in the medical context. In employment mat-

ters, Title VII means that “an individual’s homosexuality or transgender status is not

relevant to employment decisions.” Bostock, 140 S. Ct. at 1741. But that reasoning can-

not hold in the medical context, where males and females are not always similarly situ-

ated. If the Court were to extend Bostock’s statutory reasoning to the equal-protection

context, it would all but nullify the holdings from Geduldig v. Aiello, 417 U.S. 484, 496

n.20 (1974), and Dobbs, 142 S. Ct. at 2245–46, that regulating a procedure or treatment

that only one sex can undergo is generally not sex discrimination. That reality fully an-

swers the plaintiffs’ cited precedent about the Equal Protection Clause being equivalent

to Title VII. Such simply cannot be true in the medical context in light of Geduldig and

Dobbs.

         Now consider Smith v. City of Salem, 378 F.3d 566 (6th Cir. 2004). The plaintiffs

say that Smith broadly held that discrimination against a transgender person “is sex-

based discrimination for purposes of the Equal Protection Clause.” But L.W. addressed

this argument fully. Smith “did not hold that every claim of transgender discrimination

requires heightened scrutiny, least of all in the fraught context of whether a State may

limit irreversible medical treatments to minors facing gender dysphoria.” L.W., 2023
                                              10
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WL 4410576, at *7. The plaintiffs’ Smith argument also suffers from the same problem

as their Bostock one: both run headlong into Geduldig and Dobbs. Id. at *7 (recognizing

this point).

       To their credit, the plaintiffs do cite at least one case not addressed in L.W. They

rely on J.E.B. v. Alabama ex rel. T.B., 511 U.S. 127 (1994), for the notion that “a law

[that] applies to members of both sexes does not necessarily mean that it does not dis-

criminate based on sex.” But L.W. did not end its analysis upon concluding that the

challenged law applies equally to minors of both sexes. Even still, the plaintiffs empha-

size the passage from J.E.B. that “individual jurors themselves have a right to nondis-

criminatory jury selection procedures.” Id. at 140–41. Of course, no one disputes that

the Equal Protection Clause prohibits discrimination against women and men. As Jus-

tice Ginsburg explained for the Court in United States v. Virginia, intermediate scrutiny

applies when “official action . . . closes a door or denies opportunity to women (or

men).” 518 U.S. 515, 532 (1996). The operative point here is that SB 150 applies equally

to minors of both sexes. It prohibits health-care providers from prescribing puberty

blockers and hormones for a specified purpose no matter the child’s sex. Ky. Rev. Stat.

§ 311.772(2)(a)–(b). Nothing in J.E.B.—a case about explicit sex discrimination in jury

selection, J.E.B., 511 U.S. at 137–38—suggests that in so doing SB 150 discriminates

based on sex.

       The plaintiffs also dispute L.W.’s application of Geduldig and Dobbs. This case is

different, say the plaintiffs, because the law here allegedly “facially discriminates based
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on transgender status, and therefore, on sex.” But L.W. addressed this very point in

several ways. Most importantly, L.W. explained that “[i]f a law restricting a medical

procedure that applies only to women does not trigger heightened scrutiny, as in Dobbs,

a law equally applicable to all minors, no matter their sex at birth, does not require such

scrutiny either.” L.W., 2023 WL 4410576, at *6.

       Even if the Court concludes (contrary to L.W.) that intermediate scrutiny applies,

SB 150 survives it. No one can dispute that Kentucky has a “compelling governmental

interest in the protection of children,” Kottmyer v. Maas, 436 F.3d 684, 690 (6th Cir.

2006), an interest “in protecting vulnerable groups . . . from abuse, neglect, and mis-

takes,” Washington v. Glucksberg, 521 U.S. 702, 731 (1997), and an interest “in protecting

the integrity and ethics of the medical profession,” id. So the only question is whether

the challenged provisions sufficiently serve those interests. They do.

       Those advocating for what they call “gender-affirming care” argue that without

it children will have higher rates of anxiety, depression, and suicidality. Pls.’ Mot. PI,

R.17, PageID#119. That is wrong.1 At the very least, it is vigorously disputed. As this

issue is studied more, a consensus is emerging that such care is experimental. Resp. Pls.’

Mot. PI Ex. 1, R.47-1, PageID#518; Resp. Pls.’ Mot. PI Ex. 2, R.47-2, PageID#526;



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  At the stay stage, the Court undertakes de novo review. Priorities USA v. Nessel, 978
F.3d 976, 982 (6th Cir. 2020). Similarly, because the district court did not hold an evi-
dentiary hearing, this Court is “in as good a position as the district judge.” Performance
Unlimited, Inc. v. Questar Publishers, Inc., 52 F.3d 1373, 1381 (6th Cir. 1995) (citation omit-
ted).
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Resp. Pls.’ Mot. PI Ex. 3, R.47-3, PageID#539; Resp. Pls.’ Mot. PI Ex. 4, R.47-4,

PageID#545; Cantor Decl., R.47-9, PageID#1016–25, 1040–48, 1082–87; Laidlaw

Decl., R.47-10, PageID#1246–48; see also Resp. Pls.’ Mot. PI, R.47, PageID#491, 507–

08. Even the primary interest groups that advocate for such treatment—WPATH and

the Endocrine Society—have recognized the evidentiary limitations supporting its effi-

cacy. Cantor Decl., R.47-9, PageID#1049–54, 1074, 1084–87, 1111–16; Levine Decl.,

R.47-11, PageID#1304–13; Resp. Pls.’ Mot. PI Ex. 6, R.47-6, PageID#700. So have

many others. Cantor Decl., R.47-9, PageID#1013–54, 1076–97, 1111–37; Levine Decl.,

R.47-11, PageID#1283–84, 1297–1313, 1328–40, 1352–53, 1360–66; Laidlaw Decl.,

R.47-10,   PageID#1208,     1220,   1231–42, 1256–57;       Nangia    Decl.,   R.47-12,

PageID#1429–30, 1467–70; Resp. Pls.’ Mot. PI, R.47, PageID#510.

      In fact, record evidence shows that such treatments have the opposite effect—

they lead to higher rates of mental illness and suicide. Levine Decl., R.47-11,

PageID#1283–84,      1297–1313,     1331–52,    1361–63;    Laidlaw   Decl.,   R.47-10,

PageID#1221, 1225, 1241–42; Cantor Decl., R.47-9, PageID#1020, 1070–80, 1088–

97, 1104–10; Resp. Pls.’ Mot. PI, R.47, PageID#492. Not only that, such treatment

leads to physical and mental-health problems, many of which are irreversible, and many

of which would have never befallen the child but for such treatment. Cantor Decl.,

R.47-9, PageID#1098–1110; Laidlaw Decl., R.47-10, PageID#1204, 1211–28, 1243–

44, 1247, 1256–57; Levine Decl., R.47-11, PageID#1283–84, 1290, 1324–25, 1327–28,

1331, 1341–52; see also Resp. Pls.’ Mot. PI Ex 7, R.47-7, PageID#926–65.
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      All of this shows (at the very least) that there is not an agreed-upon standard of

care for treating children with gender dysphoria. Levine Decl., R.47-11, PageID#1282,

1300–13. L.W. recognized as much: “[T]he medical and regulatory authorities are not

of one mind about using hormone therapy to treat gender dysphoria.” 2023 WL

4410576, at *4. And importantly, alternative treatments exist if one recognizes that gen-

der dysphoria desists in most children, unless the treatments prohibited by SB 150 are

instituted—then the odds flip. Cantor Decl., R.47-9, PageID#1059–63, 1065–68; Lev-

ine Decl., R.47-11, PageID#1282–83, 1297–1300, 1317, 1320–28, 1331, 1361–63;

Laidlaw Decl., R.47-10, PageID#1207–09, 1243–44, 1256. Psychotherapy is an effec-

tive alternative form of treatment, so much so that other countries are prioritizing it.

Levine Decl., R.47-11, PageID#1293–1300, 1306, 1308–09, 1358–64; Nangia Decl.,

R.47-12, PageID#1410, 1426–37, 1471–85, 1491–96; Cantor Decl., R.47-9,

PageID#1016, 1032, 1035, 1061–62, 1076–80, 1088–97; Laidlaw Decl., R.47-10,

PageID#1247; Resp. Pls.’ Mot. PI, R.47, PageID#507–08, 511–12.

      True, several interest groups disagree.2 Interest Group Amicus Br., R.19-2,

PageID#319–38. But Kentucky’s legislature, not interests groups, makes such health-

and-welfare decisions on behalf of Kentuckians. Kentucky’s General Assembly has



2
 The record below gives ample reason to question the views of these interest groups.
Levine Decl., R.47-11, PageID#1304–13, 1358–60; Cantor Decl., R.47-9,
PageID#1013–14, 1084–87; Laidlaw Decl., R.47-10, PageID#1207, 1231–41; see also
Resp. Pls.’ Mot. PI, R.47, PageID#491, 511; Family Research Council Amicus Br., R.49-
2, PageID#1591–1615; States Amicus Br., R.51-1, PageID#1638–43.
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“wide discretion” to pass health-and-welfare legislation, especially “in areas where there

is medical and scientific uncertainty.” Gonzales, 550 U.S. at 163. Although “the position

of the American Medical Association” and other interest groups may be relevant to a

“legislative committee,” their views do not “shed light on the meaning of the Constitu-

tion.” See Dobbs, 142 S. Ct. at 2267 (citation omitted). Kentucky need not “surrender its

authority to regulate” to protect its citizens simply because of what some “private party

claims is the norm for the practice of medicine.” EMW Women’s Surgical Ctr., P.S.C. v.

Beshear, 920 F.3d 421, 439 (6th Cir. 2019). If the plaintiffs’ favored interest groups want

their views enshrined in Kentucky law, “they should address their arguments to [Ken-

tucky’s] elected representatives.” See id.

II.    The remaining factors cut against the plaintiffs.

       As noted above, the plaintiffs’ lead argument is that they are suffering irreparable

harm. And as they point out, Kentucky’s law is slightly different from Tennessee’s in

one respect. The continuing-treatment exception in SB 150 allows a health-care pro-

vider to “institute a period during which the minor’s use of the drug or hormone is

systematically reduced” if the minor was previously receiving prohibited treatments. Ky.

Rev. Stat. § 311.372(6). Tennessee’s equivalent law, by contrast, “permits the challeng-

ers to continue their existing treatments until March 31, 2024.” L.W., 2023 WL

4410576, at *8. Although these provisions operate somewhat differently, both allow

some continuing treatment for minors who were previously receiving the prohibited

drugs. In fact, unlike Tennessee’s law, SB 150 does not specify a hard end date. So
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similar to Tennessee’s law, SB 150’s continuing-treatment exception “lessens the harm

to those minors who wish to continue receiving treatment.” Id. This is especially so

because the Court has promised to try to resolve this appeal in just over 60 days from

now.

       The plaintiffs believe that the difference in the continuing-treatment exceptions

establishes that they will suffer irreparable harm. But the plaintiffs’ specific proof on

this point is thin. The only plaintiff declaration submitted below that arguably discusses

this point simply says without explanation that the child’s “endocrinologist has in-

formed us that she will no longer be able to treat JM Doe 3 once the Treatment Ban

goes into effect on June 29.” John Doe 3 Decl., R.17-6, PageID#288. And in any event,

the plaintiffs’ assertions of harm are very much disputed. See, e.g., Laidlaw Decl., R.47-

10, PageID#1248–56. That disagreement points to “an irreversible problem of its own,

one that lies at the crux of this case.” L.W., 2023 WL 4410576, at *8. As L.W. explained,

“[b]oth sides have the same fear, just in opposite directions—one saying the procedures

create health risks that cannot be undone, the other saying the absence of such proce-

dures creates risks that cannot be undone.” Id. The way to resolve this issue, especially

at the stay stage, is to recognize that disputes about who is right on the science and

medicine are best left to the legislature. And Kentucky’s General Assembly waded

through the “medical and scientific uncertainty” surrounding this issue and made a rea-

sonable decision for the Commonwealth. See Gonzales, 550 U.S. at 163. In fact, “[c]on-

siderations of marginal safety, including the balance of risks, are within the legislative
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competence when the regulation is rational and in pursuit of legitimate ends.” See id. at

166. Kentucky’s legislature reasonably decided to include SB 150’s continuing-treat-

ment exception to address the very harms about which the plaintiffs now complain.

       As to the harm to the Commonwealth, precedent is clear. “Any time a state is

enjoined by a court from effectuating statutes enacted by representatives of its people,

it suffers a form of irreparable injury.” Thompson v. DeWine, 976 F.3d 610, 619 (6th Cir.

2020) (cleaned up) (emphasis added). The plaintiffs fight this holding by pointing out

that two state officials in Kentucky seem amenable to SB 150 not taking effect. But so

what? Those two officials are not the Kentucky General Assembly. Kentucky’s high

court recently explained why that matters: “As we have noted time and again, so many

times that we need not provide citation, the General Assembly establishes the public

policy of the Commonwealth.” Cameron v. Beshear, 628 S.W.3d 61, 75 (Ky. 2021). Plus,

the two officials who seemingly support the plaintiffs cannot speak for the Common-

wealth in court. That is the job of Attorney General Daniel Cameron, who intervened

below on behalf of the Commonwealth and continues to defend SB 150 (including

through this filing). See Commonwealth ex rel. Beshear v. Commonwealth Off. of the Governor ex

rel. Bevin, 498 S.W.3d 355, 363 (Ky. 2016); see also Ky. Rev. Stat. § 15.020.

       The public interest follows from what has already been said. It favors “giv[ing]

effect to the will of the people ‘by enforcing the laws they and their representatives

enact.’” Thompson, 976 F.3d at 619 (citation omitted). All the more so given the need—

found by Kentucky’s legislature in passing SB 150—to protect Kentucky’s children
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from experimental procedures with long-term, irreversible consequences. See L.W.,

2023 WL 4410576, at *8 (“As for the public interest, Tennessee’s interests in applying

the law to its residents and in being permitted to protect its children from health risks

weighs heavily in favor of the State at this juncture.”).

                                     CONCLUSION

       The Court should deny the plaintiffs’ motion for a stay pending appeal.


Respectfully submitted by,

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      This response complies with the type-volume limitation in Fed. R. App. P.

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                                                       s/ Alexander Y. Magera




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      I certify that before noon on July 21, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Sixth Circuit

using the CM/ECF system. I also certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.

                                                      s/ Alexander Y. Magera




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